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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

GONZALO SALDANA AND,                            §
ROSA R. ORENSTEIN,                              §
                                                §
                Appellants,                     §
                                                §
v.                                              §          Civil Action No. 3:15-CV-1918-L
                                                §
ESTELA SALDANA AND                              §
JOHN H. LITZLER, TRUSTEE,                       §
                                                §
                Appellees.                      §

                          MEMORANDUM OPINION AND ORDER

         Before the court is Appellants’ Joint Motion for Stay Pending Appeal and Waiver of Bond

or, Alternatively, to Determine Amount of Bond (Doc. 2), filed June 4, 2015. The Trustee filed a

response in opposition to Appellants’ motion. After considering the motion, response, reply, the

record, and applicable law, the court denies Appellants’ Joint Motion for Stay Pending Appeal and

Waiver of Bond or, Alternatively, to Determine Amount of Bond (Doc. 2).

I.       Procedural Background

         On May 22, 2015, the bankruptcy court entered a memorandum opinion and order (“May 22,

2015 opinion”) regarding a contested matter involving Chapter 7 Debtor Gonzalo Saldana’s claimed

Texas rural homestead exemptions to multiple properties. After a hearing on the Trustee’s

objections to the claimed homestead exemptions, the bankruptcy court determined that Gonzalo

Saldana was entitled “to claim a homestead exemption in the Business Properties— 60 acres, but

not Parcel 4 of the French Properties (the 141.24 acre tract).” Mem. Op. and Order 42. The

bankruptcy court also imposed monetary sanctions against Appellants and their counsel. Appellants


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appeal the bankruptcy court’s May 22, 2015 (1) denial of Gonzalo Saldana’s claimed homestead

exemption to a 141.24 acre tract of rural property located in Navarro County, Texas, referred to as

“Parcel 4”; and (2) imposition of sanctions against Appellants and their counsel in the amount of

$30,354.50. Their Motion to Stay pertains only to the portion of the bankruptcy court’s May 22,

2015 opinion denying the claimed homestead exemption to Parcel 4.1

        Before filing their Joint Motion for Stay Pending Appeal (“Motion to Stay”) and Waiver of

Bond or, Alternatively, to Determine Amount of Bond in this court, Appellants filed a similar motion

in the bankruptcy court, seeking a stay and waiver of bond of the bankruptcy court’s Parcel 4 ruling

and sanctions order. The bankruptcy court determined that Appellants were not entitled to a

discretionary stay with respect to the Parcel 4 exemption or sanctions rulings and denied their request

for a waiver of bond. Without ruling on the motion to stay, the bankruptcy court ordered that: (1)

Appellants could obtain a stay of the Parcel 4 exemption ruling if they posted a bond in the amount

of $229,054; and (2) Appellants could obtain a stay of the sanctions order if they posted a bond in

the amount of $36,675.40.

        Appellants contend that they are entitled to a stay of the bankruptcy court’s order pertaining

to Parcel 4, but they do not set out the reasons for the bankruptcy court’s ruling on their Joint Motion

for Stay Pending Appeal and Waiver of Bond or, Alternatively, to Determine Amount of Bond that

was presented to the bankruptcy court. Appellants assert that they posted a cash bond of $36,675.40

on June 5, 2015, to stay the bankruptcy court’s sanction order but contend that they should not have

to pay any bond to stay enforcement of the bankruptcy court’s order denying the claimed homestead



        1
          The facts giving rise to this appeal and the underlying bankruptcy proceedings brought by Debtor Gonzalo
Saldana are set forth in detail in the bankruptcy court’s May 22, 2015 opinion and need not be repeated here.

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exemption for Parcel 4. Alternatively, they contend that they should only be required to pay a bond

amount “greatly reduced” from that set by the bankruptcy court. Appellants’ Mot. 18.

II.     Standard Applicable to Motion to Stay Bankruptcy Court Order Pending Appeal

        Federal Rule of Bankruptcy Procedure 8007 provides that a motion to stay a bankruptcy court

order or request for approval of a supersedeas bond must ordinarily be presented to the bankruptcy

judge in the first instance before or after a notice of appeal is filed. Fed. R. Bankr. P. 8007(a)(1).

A motion made in the district court under Rule 8007(a)(1) or to modify a bankruptcy court’s order

granting such relief must: “if a motion was made in the bankruptcy court, either state that the

[bankruptcy] court has not yet ruled on the motion, or state that the court has ruled and set out any

reasons given for the ruling.” Fed. R. Bankr. P. 8007(b). The motion must also include: “(A) the

reasons for granting the relief requested and the facts relied upon; (B) affidavits or other sworn

statements supporting facts subject to dispute; and (C) relevant parts of the record.” Id. Although

Appellants’ Motion to Stay does not set out the reasons for the bankruptcy court’s ruling on their

Joint Motion for Stay Pending Appeal and Waiver of Bond or, Alternatively, to Determine Amount

of Bond, the court was able to ascertain the bankruptcy court’s reasoning from its order. The court,

therefore, concludes that Appellants have satisfied Rule 8007(a).

        The decision whether to grant a stay of a bankruptcy court’s order pending appeal falls within

the district court’s sound discretion. In re First South Savings Ass’n, 820 F.2d 700, 709 (5th Cir.

1987). “A stay is an intrusion into the ordinary processes of administration and judicial review, and

accordingly is not a matter of right, even if irreparable injury might otherwise result to the appellant.”

Nken v. Holder, 556 U.S. 418, 426-27 (2009) (internal citations and quotation marks omitted).

Accordingly, a stay pending appeal is considered an “extraordinary remedy.” Belcher v. Birmingham


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Trust Nat’l Bank, 395 F.2d 685, 686 (5th Cir. 1968). The court considers four factors in evaluating

the appropriateness of a stay pending appeal of a bankruptcy court order: “(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public interest lies.” Hilton

v. Braunskill, 481 U.S. 770, 776 (1987); Nken, 556 U.S. at 426. The first two of these factors are

the most critical. Id. at 434. The movant seeking a stay of a bankruptcy court order pending appeal

has the burden to satisfy all four requirements. Ruiz v. Estelle, 666 F.2d 854, 856 (5th Cir. 1982)

(“Ruiz II”). In In re First South Savings Association, the Fifth Circuit explained as follows regarding

the first factor:

                In Ruiz I, 650 F.2d 555 (5th Cir.1981), we stated that “on motions for stay
        pending appeal the movant need not always show a ‘probability’ of success on the
        merits; instead, the movant need only present a substantial case on the merits when
        a serious legal question is involved and show that the balance of the equities weighs
        heavily in favor of granting the stay.” Id. at 565. In Ruiz II, 666 F.2d 854 (5th
        Cir.1982), we cautioned against reading Ruiz I as “a coup de grace for the
        likelihood-of-success criterion in this circuit.” Id. at 856. We said: “Likelihood of
        success remains a prerequisite in the usual case even if it is not an invariable
        requirement. Only ‘if the balance of equities (i.e. consideration of the other three
        factors) is . . . heavily tilted in the movant’s favor’ will we issue a stay in its absence,
        and, even then, the issue must be one with patent substantial merit.” Id. at 857
        (quoting Ruiz I, 650 F.2d at 565-66) (emphasis added by Ruiz II court).

In re First South Savings Ass’n, 820 F.2d at 709 n.10.

        The homestead exemption issue in this case is not novel and does not involve a serious legal

question. Appellants must, therefore, satisfy the more stringent likelihood of success on the merits

standard and show that the balance of the equities weighs heavily in favor of granting the stay. See

id.



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III.   Appellants’ Motion to Stay Bankruptcy Court Order

       Appellants contend that they have satisfied all of the requirements necessary for a stay. For

the reasons that follow, the court disagrees.

       A.      Likelihood of Success on the Merits

       Regarding the first requirement, Appellants contend that they are likely to prevail on the

merits of the appeal regarding the homestead exemption status of Parcel 4 because: (1) Appellees

lacked standing to assert objections to the claimed homestead exemption to Parcel 4; and (2) the

bankruptcy court applied the wrong legal standard in sustaining Appellees’ objections to the claimed

homestead exemption.

       Regarding the first issue, Appellants contend that the Trustee acted “imprudently in bringing

the Exemption Objections,” but they cite no legal authority in their motion for their argument that

the Trustee and Estela Saldana, debtor Gonzalo Saldana’s ex-wife, lacked standing to assert

objections to the claimed homestead exemption to Parcel 4. Appellants’ Mot. 8. Appellants’ Brief

is similarly devoid of any legal authority on this issue. Thus, Appellants have not shown a likelihood

of success of prevailing on this issue.

       Regarding the second issue, Appellants contend that, while the debtor claiming an exemption

has the initial burden of production and must come forward with evidence to establish the exemption

to property before the objecting party is obligated to come forward with proof in support of the

objections asserted, the objecting party to the homestead exemption has the ultimate burden of

persuasion under Rule 4003(c) of the Federal Rules of Bankruptcy Procedure and must produce

evidence to rebut the prima facie claimed exemption. Appellants contend that Appellees presented




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no evidence in support of their objections, and the bankruptcy court improperly shifted the burden

to Gonzalo Saldana to prove the claimed homestead exemption.

       Appellants’ contention that the bankruptcy court erred in applying the wrong legal standard

and burden of proof in sustaining Appellees’ objections is not supported by the record. The

bankruptcy court’s May 22, 2015 opinion includes the following correct statements of law: “The

Bankruptcy Rules provide that, in any hearing concerning an objection to exemptions, the objecting

party has the burden of proving that the exemptions are not properly claimed. The facts and law

existing as of the date of the petition govern a debtor’s claimed exemptions.” Mem. Op. and Order

18-19 (citing Fed. R. Bankr. P. 4003(c) and In re Zibman, 268 F.3d 298, 302 (5th Cir. 2001))

(footnotes omitted). Further, although Appellees did not put on any evidence in support of their

objections, the bankruptcy court appears to have concluded that Gonzalo Saldana did not meet his

initial burden with respect to the claimed exemption and that Gonzalo Saldana’s testimony actually

undermined the exemption claimed as to Parcel 4.

       Moreover, the bankruptcy court determination regarding the claimed exemption was based

in large part on its finding that Gonzalo Saldana’s testimony regarding his use of the property was

not credible and conflicted with the Schedules filed by him earlier in the bankruptcy case. The court,

therefore, concludes that Appellants have not shown a likelihood of succeeding on the merits of this

issue on appeal, which will necessarily require them to overcome the factual and credibility findings

made by the bankruptcy court with respect to the claimed homestead exemption.

       B.      Irreparable Harm

       Regarding the second requirement, Appellants contend that Gonzalo Saldana will be

irreparably harmed if the bankruptcy court’s denial of the claimed homestead exemption is not stayed


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because in Texas, “every piece of real estate is unique, and foreclosure can be an irreparable injury

for which there is no adequate remedy at law.” Appellants’ Mot. 14 (quoting Lavigne v. Holder, 186

S.W.3d 625, 629 (Tex. App.—Ft. Worth 2006, no pet.)). On August 18, 2015, Appellants

supplemented their Motion to Stay to notify the court that the Trustee filed, on July 29, 2015, a

motion in the bankruptcy proceeding to sell Parcel 4. In their supplemental filing, Appellants

continue to maintain that Gonzalo Saldana will suffer irreparable harm if the bankruptcy court’s

order as to Parcel 4 is not stayed pending resolution of this appeal. Appellants contend that, if the

Trustee is permitted to sell Parcel 4, Gonzalo Saldana’s will lose his fundamental homestead rights

under the Texas Constitution.

        Appellants’ irreparable harm argument is premised in substantial part on the assumption that

the property qualifies as a homestead, which goes to the heart of their appeal. The court, however,

has already determined that Appellants have not shown a likelihood of succeeding on the merits of

the exemption issue. Moreover, the case cited by them for the proposition that every piece of

property is unique is distinguishable, as the Lavigne court’s irreparable harm analysis was based on

its conclusion that “[d]isruption to a business can be irreparable harm,” and its finding that there was

an imminent threat that the plaintiff would suffer irreparable harm if the defendant was not enjoined

from foreclosing on the property at issue because the plaintiff presented evidence that he earned his

livelihood by operating an auto body shop on the property and had done so for the past 20 or more

years. Here, on the other hand, the bankruptcy court noted in its May 22, 2015 opinion that Gonzalo

Saldana’s testimony regarding usage of Parcel 4 was “very vague” and contradicted the Schedules

previously filed by him in the bankruptcy proceeding. Mem. Op. and Order 22-23. Further, even

assuming that the irreparable harm requirement has been met by Appellants, it is not enough alone


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to justify a stay of the bankruptcy court’s order denying the claimed homestead exemption to Parcel

4. See United States v. Simcho, 326 F. App’x 791, 793-94 (5th Cir. 2009) (per curiam) (affirming

denial to stay of judgment despite ordered foreclosure of property in which the appellant claimed a

homestead exemption but failed to show a likelihood of success on the merits).

         C.       Injury to Other Parties and Public Interest

         Appellants contend that there will be “no harm, or comparatively insignificant harm” to

Estela Saldana if the requested stay is granted because her lien claim to Parcel 4 is currently subject

of a state court lawsuit. Appellants’ Mot. 16. Appellants contend that, if Estela Saldana ultimately

prevails in the state court litigation, she will be able to take whatever action is allowed to her at that

time. According to Appellants, Estela Saldana’s lien claim is being asserted for one purpose, that

is, to satisfy and obtain cash for her money judgment in the parties’ final Divorce Decree.2

Appellants similarly assert that the Trustee will not be harmed by the stay because the bankruptcy

estate is only entitled to whatever interest remains after Estela Saldana’s lien, if any, is satisfied.

Finally, Appellants contend in conclusory fashion that “preserving homestead [exemption] statutes

serves the public interest.” Appellants’ Mot. 17; Appellants’ Reply 6.

         In response, the Trustee contends, and the bankruptcy court previously found, that the

bankruptcy estate does not have any funds for the administration of the Chapter 7 bankruptcy case,

and the administrative expenses are growing exponentially due to the contentious nature of the case.

The Trustee contends that the stay will serve Appellants’ interests but not the public interest. The

Trustee further asserts that a stay in this case is not appropriate because:


         2
           According to the May 22, 2015 opinion, Gonzalo Saldana’s former wife Estela Saldana is the largest creditor
in the bankruptcy case and has asserted a claim against Gonzalo Estela in excess of $2.5 million as a result of a
prepetition Divorce Decree entered by the 13th Judicial District Court of Navarro County, Texas.

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       The Debtor’s case has been pending since 2013, and Debtor voluntarily elected to
       convert his chapter 11 case to a chapter 7 bankruptcy. By and through his voluntary
       election, Debtor chose to have a chapter 7 trustee appointed to administer his case.
       The appointment of a trustee necessarily means that the trustee will administer and
       liquidate the non-exempt assets of the Debtor for the benefit of all creditors. A stay
       pending appeal would hold hostage hundreds of thousands of dollars’ worth of
       property that should be properly liquidated by the Trustee, as ordered by the
       Bankruptcy Court. If the Debtor and Debtor’s Counsel are allowed to halt the sale of
       property when the Bankruptcy Court has instructed the Trustee to move forward with
       liquidating the bankruptcy estate’s assets, the Debtor and Debtor’s Counsel will once
       again succeed in delaying the administration of this estate and costing the estate
       money.

Trustee’s Resp. 12-13.

       The court concludes that the injury-to-others and public interest factors are neutral and do

not “heavily tilt” in Appellants’ favor even when considered together with the irreparable harm

factor; nor do the issues appealed have “patent substantial merit.” In re First South Sav. Assoc., 820

F.2d at 709 n.10. The court further concludes that, while the bankruptcy proceedings have been

contentious and the relationship between Gonzalo and Estela Saldana is acrimonious as a result of

their divorce, this case does not qualify as an “unusual case” in which a stay is warranted.

Accordingly, the court denies Appellants’ request for the court to stay the bankruptcy court’s May

22, 2015 opinion denying the claimed homestead exemption to Parcel 4 pending appeal.

IV.    Appellants’ Request for Waiver of a Bond or a Reduced Bond

       Appellants contend that they should not have to pay any bond because the bankruptcy estate

has no interest in Parcel 4. Alternatively, Appellants contend that they should only be required to

pay a “greatly reduced” bond to stay the bankruptcy court’s order regarding Parcel 4 because of

Gonzalo Saldana’s bankruptcy status and Appellants’ financial inability to pay a bond. Appellants,

therefore, request the court to modify the bond amount set by the bankruptcy court.



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       The Trustee responds that, in the event that the court grants Appellants’ Motion to Stay the

bankruptcy court’s order regarding Parcel 4, Appellants should be required to post the $229,054

bond set by the bankruptcy court. The Trustee asserts that Appellants have presented no compelling

reason why they should not be required to post the bond determined by the bankruptcy court.

According to the Trustee, the bankruptcy court properly determined the bond amount by taking the

value of Parcel 4 ($190,670); increasing this amount by 20%; and adding an additional $250.

Trustee’s Resp. 11.

       The Trustee contends, based on In re Texas Equipment Co., Inc., 283 B.R. 222, 228 (N.D.

Tex. 2002), that the “purpose of a supersedeas bond is to preserve the status quo while protecting

the non-appealing party’s rights pending appeal,” and the bond amount determined by the

bankruptcy court will preserve the status quo and is necessary to protect Appellees’ rights pending

the appeal of this case if a stay is ordered. The Trustee further contends that Gonzalo Saldana’s

financial status as a debtor does not entitle Appellants to a “free” stay pending appeal. According

to the Trustee, debtors in bankruptcy should be held to the same standards as other litigants. The

Trustee asserts that Appellants’ contention regarding Gonzalo Saldana’s financial distress is

undermined because he “obviously has sufficient funds to hire experienced bankruptcy counsel and

litigate this appeal.” Trustee’s Resp. 12.

       Federal Rule of Civil Procedure 62(d) applicable to supersedeas bonds provides that when

an appeal is taken, the appellant may post a supersedeas bond to obtain a stay. Fed. R. Civ. P. 62(d).

After the supersedeas bond is posted and approved, the appellant is entitled to an automatic stay.

Id.; Hebert v. Exxon Corp., 953 F.2d 936, 938 (5th Cir.1992). “In the bankruptcy setting, the rules

related to seeking a stay of a proceeding pending appeal . . . make F.R.C.P. 62(d) applicable to with


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respect to judgments and contested matters. United States v. Revie, 834 F.2d 1198, 1205 (5th Cir.

1987).

         Although Rule 62(d) does not specifically define the amount and conditions of a supersedeas

bond, it has been construed as requiring a bond in the amount of “the whole amount of the judgment

remaining unsatisfied, costs on the appeal, interest, and damages for delay.” Poplar Grove Planting

and Refining Co. v. Bache Halsey Stuart, Inc., 600 F.2d 1189, 1191 (5th Cir. 1979). Local Civil

Rule 62.1 applicable to supersedeas bonds provides that, unless the parties agree to waive the

supersedeas bond requirement or otherwise ordered by the presiding judge, a supersedeas bond

shall be “in the amount of the judgment, plus 20% of that amount to cover interest and any award

of damages for delay, plus $250.00 to cover costs.” L. R. 62.1.

         The court in Poplar Grove explained that the burden of obtaining a departure of the general

rule requiring the posting of a supersedeas bond is on the movant:

         If a court chooses to depart from the usual requirement of a full security supersedeas
         bond to suspend the operation of an unconditional money judgment, it should place
         the burden on the moving party to objectively demonstrate the reasons for such a
         departure. It is not the burden of the judgment creditor to initiate contrary proof. Such
         a supersedeas bond is a privilege extended the judgment debtor as a price of
         interdicting the validity of an order to pay money.

Poplar Grove Planting and Refining Co., 600 F.2d at 1191. To invoke an exception to the

supersedeas bond requirement, the movant must either (1) “demonstrate objectively a present

financial ability to facilely respond to a money judgment and present a financially secure plan for

maintaining that same degree of solvency during the period of the appeal”; or (2) demonstrate that

the “the judgment debtor’s present financial condition is such that the posting of a full bond would

impose an undue financial burden.” Id. Only the second of these exceptions is applicable here, as

Appellants assert financial inability to pay a bond.

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       In this regard, Appellants contend that Gonzalo Saldana “cannot obtain a corporate surety

bond because he is in chapter 7. [Orenstein Affidavit, Para. 14]. Saldana cannot afford to pay the

cash bond of $229,054.00. [Saldana Affidavit, Para. 8].” The referenced “Orenstein Affidavit” was

provided by Appellants’ counsel. In support of the assertion that Gonzalo Saldana is financially

unable to pay the bond set by the bankruptcy court, Gonzalo Saldana states in his affidavit:

       7.      I am currently not gainfully employed. The only property I own is the exempt
               property the subject of the this bankruptcy case.

       8.      I do not have the funds or available property to post a cash bond in the
               amount of $229,054.00 as ordered by the Bankruptcy Court as a condition of
               imposing a stay pending appeal as to the 141 acre portion of my claimed
               exemption.

G. Saldana Aff. ¶¶ 7-8.

       The $229,054 bond set by the bankruptcy court is reasonable, as it was calculated in

accordance with this court’s local rules and Fifth Circuit precedent regarding the calculation of

supersedeas bonds, and the court concludes that Appellants have not met their burden of

demonstrating an exception to the bond requirement. The affidavits of Gonzalo Saldana and

Appellants’ counsel do not show that Appellants are financially unable to pay a bond in any amount,

as Gonzalo Saldana’s affidavit and the record indicate that Parcel 4, which is the subject of this

appeal, is not the only property owned by Gonzalo Saldana. As previously noted, the bankruptcy

court determined that, while Gonzalo Saldana was not entitled to a rural homestead exemption for

Parcel 4, he was entitled “to claim a homestead exemption in the Business Properties— 60 acres.”

Mem. Op. and Order 42. Moreover, Gonzalo Saldana’s affidavit is devoid of any specific

information to support his conclusory assertion that he does “not have the funds or available property

to post a cash bond in the amount of $229,054.00 as ordered by the Bankruptcy Court.” G. Saldana


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Aff. ¶ 8. According to Debtor’s Schedule B, the sixty-acre Business Property found to be exempt

by the bankruptcy court has a value of $273,370. Mem. Op. and Order 8. The court, therefore,

concludes that, notwithstanding his status as a Chapter 7 bankruptcy debtor, Gonzalo Saldana’s

financial condition is not so impaired that requiring them to post the cash or supersedeas bond

ordered by the bankruptcy court would impose an undue financial burden on them. See Poplar

Grove Planting and Refining Co., 600 F.2d at 1191. The court, therefore, denies Appellants’ request

for the court to waive the bond requirement or significantly reduce the amount of the bond set by the

bankruptcy court.

V.     Conclusion

       For the reasons stated, the court denies Appellants’ Joint Motion for Stay Pending Appeal

and Waiver of Bond or, Alternatively, to Determine Amount of Bond (Doc. 2). Accordingly, if,

Appellants wish to stay the bankruptcy court’s order denying the claimed homestead exemption to

Parcel 4, they must post the $229,054 bond ordered by the bankruptcy court in accordance with the

bankruptcy court’s order.

       It is so ordered this 25th day of August, 2015.



                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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